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  UNITED STATES DISTRICT COURT
  EASTERN DISTRICT OF NEW YORK
  (BROOKLYN)


   IN RE: EXACTECH POLYETHYLENE                        )   MDL No. 3044 (NGG) (MMH)
   ORTHOPEDIC PRODUCTS LIABILITY                       )
   LITIGATION                                          )
                                                       )   Case No.: 1:22-md-3044-NGG-MMH
                                                       )
                                                       )   District Judge Nicholas G. Garaufis
                                                       )   Magistrate Judge Marcia M. Henry
                                                       )
   THIS DOCUMENT RELATES TO:
   ALL CASES AGAINST TPG DEFENDANTS


    DEFENDANTS TPG INC.; OSTEON HOLDINGS, INC.; OSTEON MERGER SUB,
          INC.; AND OSTEON I NTERMEDIATE HOLDINGS II, INC.’S
               NOTICE OF MOTION AND MOTION TO DISMISS

         Pursuant to Federal Rule of Civil Procedure 12(b)(6), Defendants TPG Inc.; Osteon

  Holdings, Inc.; Osteon Merger Sub, Inc.; and Osteon Intermediate Holdings II, Inc. (collectively,

  “TPG”) hereby move to dismiss Plaintiffs’ claims against TPG, all of which are pursuant to

  indirect liability theories, including corporate veil-piercing and successor liability theories.

  Plaintiffs purport to bring the following Counts against TPG pursuant to these indirect liability

  theories: Count I (Strict Liability – Manufacturing Defect); Count II (Strict Liability – Design

  Defect); Count III (Strict Liability – Defect Due to Inadequate Warnings or Instructions); Count

  IV (Negligence); Count V (Breach of Express Warranty); Count VI (Breach of Implied

  Warranty): Count VII (Negligent Misrepresentation); Count VIII (Fraud); Count IX (Fraudulent

  Concealment); Count X (Punitive Damages); Count XI (Loss of Consortium).

         TPG is entitled to dismissal for the reasons set forth in its Memorandum of Law, provided

  contemporaneously with this Motion.




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   Dated: June 9, 2023                      Respectfully submitted,


                                     By: /s/ Jay P. Lefkowitz
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                                      PROOF OF SERVICE

         I hereby certify that on June 9, 2023, I caused a copy of Defendants TPG Inc., Osteon

  Holdings, Inc., Osteon Merger Sub, Inc., and Osteon Intermediate Holdings II, Inc.’s Notice of

  Motion and Motion to Dismiss to be served via electronic mail on the individuals designated as

  Plaintiffs’ Co-Lead Counsel and Liaison Counsel (ECF Nos. 46, 269).


  Dated: June 9, 2023


                                                      /s/ Jay P. Lefkowitz
                                                      Jay P. Lefkowitz




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